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                   UNITED STATES DISTRICT COURT

                      DISTRICT OF CONNECTICUT



JOHN DOE,                                    CIVIL ACTION NO.:

                      Plaintiff,
      vs.

YALE UNIVERSITY, MARVIN
CHUN, JOHN MAYES, JORDAN
PILANT, MARIA PIÑANGO, MARK
SOLOMON, JORDON WHITE,
ANGELA GLEASON,                              May 2, 2019

                      Defendants.




                     PLAINTIFF’S MOTION TO SEAL
      Pursuant to Rule 5(e)(4)(a)&(b) of the Local Rules of Civil Procedure
for the District Court for the District of Connecticut, the Plaintiff hereby moves
to maintain under seal: PLAINTIFF JOHN DOE’S MEMORANDUM OF
LAW IN SUPPORT OF MOTION FOR A TEMPORARY RESTRAINING
ORDER AND A PRELIMINARY INJUNCTION, PLAINTIFF JOHN DOES
DECLARATION IN SUPPORT THEREOF; AND THE SUPPLEMENTAL
DOCUMENTS TO INCLUDE THE UWC FACT FINDER’S REPORT AND
UWC PANEL REPORT
      The aforementioned documents contain information protected from
disclosure by the Federal Educational and Privacy Rights Act, including
sensitive and confidential information related to a complaint of sexual

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misconduct. Specifically, the documents contain identifying information
concerning the plaintiff and the Yale University student who filed a complaint
of sexual misconduct against him, as well as several other Yale University
students who were involved in the investigation of that complaint.
Additionally, the documents contain information that could reasonably be used
to determine his true identity as well as searchable text that could lead to future
employers discovering his identity and refusing to offer work. The documents
also describe specific details concerning the allegations of sexual misconduct.
By filing under seal, the Plaintiff seeks to protect his confidentiality interests.


         WHEREFORE, the Plaintiff respectfully request that the motion to seal
be granted


Dated at Chula Vista, California this 2nd day of May, 2019.




                                                                 THE PLAINTIFF

                                                                 /s/ Jorge I. Hernandez

                                                                 JORGE I. HERNANDEZ, Esq.
                                                                 823 ANCHORAGE PLACE
                                                                 CHULA VISTA, CA 91914
                                                                 (pro hac vice admission pending)
                                                                 Jorge@JIHLAW.com
                                                                 619-475-6677

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                               CERTIFICATION

      I hereby certify that, on May 2, 2019, a copy of the foregoing Plaintiff’s

Motion to Seal was filed electronically and served by mail on anyone unable

to accept electronic filing. Notice of this filing will be sent by e-mail to all

parties by operation of the court’s electronic filing system or by mail to

anyone unable to accept electronic filing as indicated on the Notice of

Electronic Filing. Parties may access this filing through the court’s CM/ECF

System.
                                               /s/ Jorge I. Hernandez

                                               Jorge I. Hernandez, Esq.




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